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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN


GABRIELLE MADDALENA,

                          Plaintiff,
                                                           Case No. 14-CV-681
                   vs.

FACILITY GATEWAY CORPORATION,

                          Defendant.


 STIPULATION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)


      PLEASE TAKE NOTICE that the parties, through their undersigned counsel

and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby

stipulate to voluntarily dismiss, with prejudice and without payment of costs or

fees, Plaintiff’s Complaint against Defendant.



      Dated this 11th day of May, 2015.

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